Case: 1:18-cv-00753-SJD-KLL Doc #: 80 Filed: 04/14/22 Page: 1 of 3 PAGEID #: 2576



                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO


NICHOLAS K. MERIWETHER,
                                                  Case No: 1:18-cv-00753-SJD-KLL
                                  Plaintiff,
                    v.                            THE HONORABLE SUSAN J. DLOTT
THE TRUSTEES OF          SHAWNEE    STATE
                                                THE HONORABLE KAREN L. LITKOVITZ
UNIVERSITY, et al.,
                               Defendants.

            STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE

   Pursuant to the terms of a settlement agreement and F ED. R. CIV. P. 41(a)(1)(A)(ii),

Plaintiff and Defendants stipulate to the voluntary dismissal with prejudice of all

claims brought in Plaintiff’s First Amended Verified Complaint. See Pl.’s 1st Am. V.

Compl., Doc. 34, Feb. 5, 2019, PageID.1457–1508.

   Respectfully submitted this 14th day of April, 2022.

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                              CERTIFICATE OF SERVICE
   I hereby certify that on the 14th day of April, 2022, I filed a true and accurate copy

of the foregoing document with the Clerk of Court using the CM/ECF system, which

automatically sends an electronic notification to all counsels of record in this case.

   Respectfully submitted on this the 14th day of April, 2022.

                                               /s/ Travis C. Barham
                                               Travis C. Barham
                                               Attorney for Plaintiffs




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